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          17                            UNITED STATES DISTRICT COURT
          18                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             SOUTHERN DIVISION
          19
                    MASIMO CORPORATION,                        CASE NO. 8:20-cv-00048-JVS (JDEx)
          20        a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,
          21        a Delaware corporation,                    MEMORANDUM OF POINTS AND
                                                               AUTHORITIES IN SUPPORT OF
          22                           Plaintiffs,             DEFENDANT APPLE INC.’S
                                                               MOTION FOR PARTIAL SUMMARY
          23              v.                                   JUDGMENT ON THE THIRTEENTH
                                                               CAUSE OF ACTION FOR TRADE
          24        APPLE INC.,                                SECRET MISAPPROPRIATION, OR
                    a California corporation,                  TO BIFURCATE TRIAL IN THE
          25                                                   ALTERNATIVE
                                       Defendant.
          26                                                   Hearing
          27                                                   Date: February 7, 2022
                                                               Time: 1:30pm
          28                                                   Courtroom: 10C
                                                               Judge: Hon. James V. Selna
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            1                                       I.     INTRODUCTION
            2              California law requires a trade secret plaintiff to file suit within three years after
            3       it discovered or could have reasonably discovered the defendant’s purported
            4       misappropriation. Cal. Civ. Code § 3426.6. That period starts when “the plaintiff had
            5       reason to at least suspect that” they had been harmed by the defendant (i.e., constructive
            6       notice). See Wolf v. Travolta, 167 F. Supp. 3d 1077, 1102 (C.D. Cal. 2016) (alteration
            7       and quotation marks omitted). In other words, “[o]nce the plaintiff has a suspicion of
            8       wrongdoing, and therefore an incentive to sue, she must decide whether to file suit or sit
            9       on her rights.” Id.
          10               Here, Plaintiffs claim that Apple improperly acquired their alleged trade secrets
          11        from two of Plaintiffs’ former employees (Dr. Michael O’Reilly and Dr. Marcelo
          12        Lamego), whom began working at Apple in July 2013 and January 2014. Statement of
          13        Undisputed Facts (“SUF”) Nos. 1-3. The undisputed factual record confirms that by
          14        October 2016, Plaintiffs had repeatedly voiced suspicions that Apple had engaged in
          15        misappropriation, but sat on their rights for over three more years before commencing
          16        this litigation.   Specifically, (1) Plaintiffs asserted in January 2014 that if Apple
          17        employed O’Reilly and Lamego to work on healthcare technologies, both would
          18        “necessarily” need to share Plaintiffs’ purported trade secrets with Apple, (2) O’Reilly
          19        and Lamego helped develop Apple’s healthcare technologies and did so in a public
          20        manner that drew media attention and resulted in a published patent application, and (3)
          21        Plaintiffs mentioned Lamego’s and O’Reilly’s role in Apple’s work in
          22                                               and in communications from Masimo’s               and
          23        Executive Vice President for Business Development.
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            1             Plaintiffs said nothing to Apple about any such supposed wrongdoing until filing
            2       this case in January 2020—when they belatedly alleged, just as they did in October 2016
            3       and before, that O’Reilly and Lamego had improperly used and disclosed Plaintiffs’
            4       alleged trade secrets when working for Apple, and that Apple had improperly used those
            5       alleged trade secrets in patent filings and its healthcare technologies.
            6             Because Plaintiffs filed their complaint over three years after they at least had
            7       reason to suspect Apple’s purported misappropriation, this Court should enter summary
            8       judgment on the Fourth Amended Complaint’s trade secret claim in Apple’s favor. At
            9       a minimum, Apple’s statute of limitations defense should be bifurcated for trial as soon
          10        as possible so that Apple can present its statute-of-limitations case to a jury. Doing so
          11        would promote judicial economy and avoid the unfair prejudice to Apple and the
          12        potential jury confusion that would result if Apple is forced to try the facts relevant to
          13        its statute of limitations defense alongside the facts relevant to its merit-based defenses.
          14                           II.   UNDISPUTED FACTUAL BACKGROUND
                    A.      Plaintiffs Send A Letter To Apple In January 2014 Indicating That
          15                Plaintiffs’ Trade Secrets Would “Necessarily” Be Used Or Disclosed If
                            Lamego Or O’Reilly Worked On Apple’s Healthcare Technology
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          17              In July 2013, O’Reilly left his job with Plaintiffs and began working for Apple,
          18        SUF No.2, and in January 2014, Lamego did the same, SUF No. 3. Plaintiffs sent Apple
          19        a letter on January 24, 2014, expressing concern that “Apple has been targeting Masimo
          20        and Cercacor” employees for its own hiring because Apple was interested in Plaintiffs’
          21        healthcare technology but had been unable to acquire Plaintiff Cercacor outright.
          22        Andrea Decl. Ex. 1 (“January 2014 Letter”) at 1; SUF No. 4. Plaintiffs asserted that
          23        Apple had hired Lamego “to design and develop products that are likely the same as the
          24        products that he was responsible for developing for [Plaintiff] Cercacor,” and that
          25        “Lamego learned, and personally conceived, a large number of very valuable trade
          26        secrets while he was at [Plaintiff] Masimo, and he continued to use and improve those
          27        trade secrets under license from Masimo when Cercacor was spun off from Masimo.”
          28        January 2014 Letter at 1; SUF Nos. 5-6.

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            1             Plaintiffs’ letter demanded that Apple refrain from employing Lamego in
            2       “healthcare technology, including mobile health applications and the measurement of
            3       physiological information.” January 2014 Letter at 2; SUF No. 7. In making this
            4       request, Plaintiffs quoted an employee confidentiality agreement that Lamego had
            5       signed, which stated “I agree that [working for a competitor of Plaintiff Cercacor] would
            6       necessarily involve the use or disclosure of Masimo[’s] trade secrets and proprietary …
            7       information.” January 2014 Letter at 2, 4 (emphasis added); SUF Nos. 9-10. (Although
            8       not specifically cited in the January 2014 letter,
            9
          10        Plaintiffs also warned that employing O’Reilly and Lamego to work on “mobile health
          11        device[] projects” would be taken as a sign that “Apple is attempting to gain access to,
          12        or at least the benefit of, [Plaintiffs’] trade secrets.” January 2014 Letter at 2; SUF No.
          13        8.
                    B.    O’Reilly And Lamego Develop Healthcare Technology And
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          15              1.     Despite the threats in Plaintiffs’ January 2014 letter, Apple continued its
          16        efforts to develop and improve its healthcare technologies. SUF No. 13. On March 9,
          17        2015, for example, Apple publicly announced ResearchKit, which it described as “an
          18        open source software framework designed for medical and health research, helping
          19        doctors and scientists gather data more frequently and more accurately from participants
          20        using iPhone® apps.” Andrea Decl. Ex. 3; SUF No. 15. Following that announcement,
          21        a number of media outlets detailed the operation of ResearchKit and Apple’s ongoing
          22        expansion into the healthcare space. SUF No. 16.
          23              O’Reilly and Lamego made no effort to hide the fact that they were helping Apple
          24        develop this kind of healthcare technology. For example, on January 31, 2014, The New
          25        York Times, The Wall Street Journal, and other major media outlets reported that
          26        O’Reilly had attended a December 2013 meeting with the FDA on Apple’s behalf
          27        regarding “mobile medical applications.” SUF No. 17. In September 2014 and February
          28        2015, Masimo employees sent out emails highlighting articles about the Apple Watch’s

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            1       healthcare features that mentioned O’Reilly by name. SUF No. 18. And on March 3,
            2       2016, the U.S. Patent Office published an Apple patent application (Pub. No.
            3       2016/0061726) for healthcare technology that listed an August 28, 2014 priority date
            4       and named Apple Inc. as the applicant and Lamego as a co-inventor. Andrea Decl. Ex.
            5       15 (“’726 Publication”) at 1; SUF Nos. 19-21.
            6             Specifically, the ’726 publication describes “optical sensing systems configured
            7       to provide functionality such as fitness or health tracking or physiological data
            8       collection,” and explains how the disclosed system could be used as a “medical
            9       diagnostic tool … that can be placed against a patient’s skin in order to obtain
          10        physiological characteristics of said patient.” ’726 Publication ¶ 29; SUF Nos. 22-23.
          11        The ’726 publication includes a “smart watch” embodiment, which can obtain “certain
          12        physiological data about the user such as heart rate, respiration rate, blood oxygenation,
          13        blood pressure, and so on.” ’726 Publication ¶¶ 5-6; SUF No. 24.
          14              2. As Apple was developing the technology at issue in this litigation, Plaintiffs
          15        repeatedly asserted that Apple’s work relied on Plaintiffs’ trade secrets.
          16              For example, on May 6, 2014, the Chicago Tribune published an article regarding
          17        Apple’s presence in the “medical tech” industry that included critical comments from
          18        Plaintiffs’ CEO, Joseph Kiani, that Apple had “recruited” his former employees with
          19        “access to deep wells of [Plaintiffs’] trade secrets and information” and that Apple was
          20        “just buying people.” Andrea Decl. Ex. 10 at 6; SUF Nos. 25-26. Other sections of the
          21        article specifically named O’Reilly and Lamego as Apple employees who had been
          22        “poached” from Plaintiffs, and reported that O’Reilly had recently met with a “mobile
          23        health” expert from the U.S. Food and Drug Administration on Apple’s behalf. Andrea
          24        Decl. Ex. 10 at 5; see also SUF Nos. 17, 27.
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            6          Plaintiffs also reached out directly to O’Reilly on at least one occasion to insinuate
            7    that the Apple Watch drew on proprietary information that O’Reilly had worked on
            8    while employed by Plaintiffs. Paul Jansen, then Masimo’s Executive Vice President for
            9    Business Development, sent O’Reilly an email on April 28, 2015, highlighting a recent
          10     news article entitled “Apple Watch already has 264 health apps, unused pulse ox[imetry]
          11     functionality, and a hospital pilot.” Andrea Decl. Ex. 18 at 1 ; SUF No. 29. Jansen
          12     stated “I’m sure these reports are always 100% accurate … :)” and noted the article’s
          13     reference to potential “pulse oximetry functionality” in the Apple Watch had “caught
          14     [his] eye.” Andrea Decl. Ex. 18 at 1; SUF No. 29.
          15           Plaintiffs were similarly blunt
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          10     C.    Plaintiffs File This Lawsuit In January 2020, Accusing Apple of
                       Misappropriating Plaintiffs’ Alleged Trade Secrets From O’Reilly And
          11           Lamego
          12           Despite Plaintiffs’ repeated suggestions that Apple had misappropriated their
          13     trade secrets, they failed to take legal action until January 9, 2020, when they filed this
          14     suit. SUF Nos. 38-39. The complaint alleges, among other things, that O’Reilly and
          15     Lamego had breached their confidentiality agreements by disclosing Plaintiffs’ alleged
          16     trade secrets to Apple, and that Apple had improperly disclosed and used those alleged
          17     trade secrets
          18                                               SUF Nos. 40-41.
          19           In support of those allegations, Plaintiffs relied in part on Apple patent filings that
          20     overlap with the ’726 publication, including U.S. Patent No. 9,952,095. Andrea Decl.
          21     Ex. 21 (“’095 Patent”); SUF No. 42. For example, the ’726 publication and ’095 patent
          22     both relate to light emitter technology used for health monitoring to increase reliability
          23     of biological readings SUF No. 43, and several figures in the ’726 publication are
          24     identical or nearly identical to those in the ’095 patent:
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            9                ’726 Publication                               ’095 Patent
          10     SUF No. 44. The two documents also share identical or nearly identical written
          11     description text that spans multiple pages. See SUF No. 45.
          12           In April 2020, Apple filed a motion to dismiss arguing—among other things—
          13     that Plaintiffs’ trade secret claim was time-barred because it was filed more than three
          14     years after Plaintiffs “discovered or by the exercise of reasonable diligence should have
          15     discovered” Apple’s purported misappropriation. See Dkt. 38 at 6-14 (quoting Cal. Civ.
          16     Code §3426.6). Specifically, Apple argued that the January 2014 letter and the ’726
          17     publication put Plaintiffs on notice of any purported misconduct. Id. at 6-9. This Court
          18     denied the motion, concluding that the January 2014 letter was insufficient standing
          19     alone because it was sent a few days before Lamego began his employment with Apple
          20     (and thus preceded any actual transfer of information from Lamego to Apple). Andrea
          21     Decl. Ex. 23 (“MTD Order”) at 5-6. The Court also stated that it was premature to
          22     determine whether the ’726 publication constituted constructive notice, because
          23     “construing [Plaintiffs’] allegations as true” that “Apple did not publish Plaintiffs’
          24     confidential information in its patent applications until after January 10, 2017,” “[i]t
          25     [wa]s not apparent on the face of the [complaint] that the claim is time-barred.” MTD
          26     Order at 6. In making this ruling, the Court emphasized that “‘[t]he majority of cases
          27     relying on the issuance of a patent as constructive notice were either at the summary
          28     judgment stage or later in the proceedings.’” MTD Order at 6.

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            1                                  III.   LEGAL STANDARD
            2          Summary judgment is warranted when, reading the record in the light most
            3    favorable to the nonmoving party, “there is no genuine issue as to any material fact and
            4    …the movant is entitled to judgment as a matter of law.” Gabriel Technologies Corp.
            5    v. Qualcomm Inc., 857 F. Supp.2d 997, 1002 (S.D. Cal. 2012). “While resolution of [a
            6    trade secrets] statute of limitations issue is normally a question of fact,” courts have
            7    granted summary judgment in favor of the defendant when “the uncontradicted facts
            8    established through discovery are susceptible of only one legitimate inference.” See
            9    Wang v. Palo Alto Networks, Inc., 2014 WL 1410346, at *6-7 (N.D. Cal. Apr. 11, 2014)
          10     (granting summary judgment to defendant); see also Gabriel, 857 F. Supp. 2d at 1007
          11     (same); Wolf, 167 F. Supp. 3d at 1108 (same). Specifically, if the defendant meets its
          12     “initial burden … of demonstrating that plaintiffs’ claims are time barred[,] … the
          13     burden then shifts to … the non-moving party to establish that there is sufficient
          14     evidence in the record from which a reasonable trier of fact could conclude that
          15     plaintiffs’ claims are not time barred” or that “an equitable exception” to the statute of
          16     limitations applies. See Wolf, 167 F. Supp. 3d at 1091-1092.
          17           The decision whether to bifurcate a civil trial is left to the district court’s sound
          18     discretion. Grisham v. Philip Morris, Inc., 2009 WL 9102320, at * 3 (C.D. Cal. Dec. 3,
          19     2009). “In exercising th[at] discretion, district courts have routinely … bifurcate[d] trial
          20     on statute of limitations issues.” Id. at *4.
          21                                        IV. ARGUMENT
                 A.     This Court Should Grant Summary Judgment On Plaintiffs’ Trade Secret
          22            Claim Because Plaintiffs Waited More Than Three Years To File This Suit
                        After Their Own Actions Indicate They Had A Suspicion Of Wrongdoing
          23            1.     The Undisputed Facts Establish That Plaintiffs Had At Least
          24                   Constructive Notice Of Their Trade Secret Claim By October 2016
                       As discussed, the statute of limitations for Plaintiffs’ trade secrets claim began to
          25
                 run when Plaintiffs had constructive notice of the misappropriation—i.e., “by the
          26
                 exercise of reasonable diligence [they] should have discovered [Apple purportedly]
          27
                 engaged in misappropriation.” MGA Entm’t, Inc. v. Mattel, Inc., 41 Cal. App. 5th 554,
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            1    564 (2019); see also E-Fab, Inc. v. Accts. Inc. Servs., 153 Cal. App. 4th 1308, 1318-19
            2    (2007) (“A person with actual notice of circumstances sufficient to put a prudent man
            3    upon inquiry is deemed to have constructive notice of all facts that a reasonable inquiry
            4    would disclose.” (quotation marks omitted)). Importantly, “[t]he standard for accrual
            5    of the statute of limitation … is not the receipt of documentary evidence of
            6    misappropriation.”    MGA Entm’t, 41 Cal. App. 5th at 563-564.            “The question,
            7    ultimately, is when plaintiff had any reason to suspect that its trade secrets were
            8    misappropriated.” Fulfillium v. ReShape Med. LLC, 2018 WL 11354522, at *5 (C.D.
            9    Cal. Nov. 6, 2018); see also Cypress Semiconductor Corp. v. Superior Court, 163 Cal.
          10     App. 4th 575, 587 (2008) (“The proper focus … is not upon the defendant’s actual state
          11     of mind but upon the plaintiffs’ suspicions.”).
          12           Here, the undisputed record evidence, when taken together, establishes that
          13     Plaintiffs had actionable “suspicions” of misappropriation more than three years prior to
          14     this suit was filed on January 9, 2020.
          15           First, Plaintiffs concluded before Lamego even began his employment with Apple
          16     that any work that he did in the healthcare technology space would “necessarily” result
          17     in the use or disclosure of Masimo’s trade secrets. See supra p. 3. In January 2014,
          18     Plaintiffs warned Apple that employing O’Reilly and Lamego to work on “mobile health
          19     device[] projects” would be taken as a sign that “Apple is attempting to gain access to,
          20     or at least the benefit of, [Plaintiffs’] trade secrets.” See supra p. 3; see also Gabriel
          21     Techs. Corp., 857 F. Supp. 2d at 1004 (statute of limitations began to run when plaintiff’s
          22     employee asserted in an email that defendant had committed a “direct rip-off” of
          23     technology protected by trade secret). And despite these threats, Apple proceeded to
          24     develop its healthcare technology—including the ResearchKit software discussed
          25     above—and relied on O’Reilly’s and Lamego’s assistance to do so. See supra pp. 3-4.
          26           Second, Apple made no attempt to hide either man’s involvement in the project
          27     in the years after they were hired. O’Reilly’s connection to Apple’s healthcare work,
          28     for example, was highlighted in several newspaper articles. See supra p. 3; Stutz Motor

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            1    Car of Am., Inc. v. Reebok Int’l, Ltd., 909 F. Supp. 1353, 1362 (C.D. Cal.
            2    1995), aff’d, 113 F.3d 1258 (Fed. Cir. 1997) (finding “[b]ased on the advertising, [and]
            3    media reporting” of defendant’s products that “sufficient widespread publicity existed
            4    for plaintiff to be charged with constructive knowledge” of those products “and the
            5    potential use of [plaintiff’s] trade secrets” in those products).       Lamego’s name,
            6    moreover, was listed on a published patent application that involved light-emitter
            7    technology similar to what appears in the Apple patents that Plaintiffs claim disclose
            8    their trade secrets. See supra pp. 4, 6-7; Alamar Biosciences Inc. v. Difco Labs. Inc.,
            9    1996 WL 648286, at *5-6 (E.D. Cal. Feb. 27, 1996) (finding plaintiff had constructive
          10     notice of patent application filed by a competitor in same field where plaintiff suspected
          11     competitor was misappropriating its trade secrets).
          12           Third,
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          17                                  In April 2015, a Masimo executive sent O’Reilly an email
          18     flagging the executive’s concern about reports that the Apple Watch might have “pulse
          19     oximetry functionality.” See supra p. 5.
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            1
                                                                                    1
            2
            3          In sum, (1) Plaintiffs informed Apple that if it employed O’Reilly and Lamego to
            4    work on healthcare technology, the two would necessarily use or disclose Plaintiffs’
            5    trade secrets, (2) Apple openly employed O’Reilly and Lamego to work on healthcare
            6    technology, and (3)
            7
            8
            9    Because Plaintiffs waited over three more years to raise their trade secret claim, that
          10     claim is barred by the statute of limitations as a matter of law. See Wolf, 167 F. Supp.
          11     3d at 1103 (finding trade secrets claim barred where “despite her suspicions and her own
          12     independent investigation” into defendant’s potential misappropriation, plaintiff failed
          13     to sue within three years).
          14           Importantly, granting Apple summary judgment on statute of limitations grounds
          15     does not create a conflict with this Court’s prior ruling at the motion to dismiss stage.
          16     That decision held that the January 2014 letter standing alone did not start the clock for
          17     the statute of limitations, MTD Order at 6, and Apple does not seek reconsideration of
          18     that ruling here. Rather, Apple submits that—as this Court recognized—the January
          19     2014 letter “suggests that Plaintiffs had a suspicion Lamego would be in a position to
          20     compete with his former employer by drawing upon Plaintiffs’ trade secrets.” MTD
          21     Order at 6. It is Apple’s subsequent conduct in employing Lamego and O’Reilly to
          22
          23
                 1
          24       Indeed, Plaintiffs have conceded in parallel litigation against Lamego that they were
                 aware of his purported misappropriation by January 4, 2016, when his company
          25     released a press release regarding a new product. See Masimo Corp. v. True
          26     Wearables, Inc., No. 18-cv-02001, Dkt. 359 at 19 (C.D. Cal. Oct. 15, 2021). It would
                 be logical to assume that Lamego’s press release would have raised suspicions about
          27     all of Lamego’s work since he left Plaintiffs—a time period that would sweep in his
          28     time at Apple. Plaintiffs insinuated in

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            1    develop Apple’s healthcare technology coupled with
            2                                                                        that establish what this
            3    Court found missing in its prior ruling—i.e., that Plaintiffs “had a reason to suspect that
            4    a trade secret had already been misappropriated” prior to January 2017, MTD Order at
            5    6.2
                       2.     The Bare Allegations Of The Fourth Amended Complaint Do Not
            6                 Create A Genuine Dispute Of Material Fact Over Whether Plaintiffs
                              Had Constructive Notice
            7
            8          In light of the undisputed evidence detailed above showing that the initial acts
            9    giving rise to Plaintiffs’ alleged misappropriation claim occurred outside the limitations
          10     period, that claim must be dismissed unless Plaintiffs meet their burden to prove facts
          11     necessary to toll the statute, such as “the inability to have made earlier discovery despite
          12     reasonable diligence.” Gabriel, 857 F. Supp. 2d at 1003.
          13           The allegations in the Fourth Amended Complaint do not meet that burden.
          14     Plaintiffs assert that before the three-year window leading up to the filing of their
          15     complaint on January 9, 2020, they “had no reason to suspect or believe that [Apple]
          16     had ignored Plaintiffs’ [January 2014] letter,” and that Apple up to that point had
          17     “concealed” the alleged “acquisition, use and disclosure” of Plaintiffs’ purported trade
          18     secrets. Fourth Am. Compl. ¶¶ 262-263. But that argument fails in view of the
          19     undisputed factual record. As discussed above, long before January 10, 2017, Plaintiffs
          20     had more than sufficient notice that Apple had employed O’Reilly and Lamego to work
          21     on healthcare technology—an act
          22
          23     2
                   This Court’s motion to dismiss decision also stated that the ’726 publication did not
          24     provide Plaintiffs with constructive notice of Apple’s purported misappropriation.
                 MTD Order at 6. That ruling, however, expressly rested on the fact that—at the
          25     12(b)(6) stage—this Court had to treat as true Plaintiffs’ bald allegation that it did not
          26     become aware of Apple’s conduct until January 2017. MTD Order at 6. At the
                 summary judgment stage, however, a party “may not rest upon mere allegation or
          27     denials of his pleading, but must set forth specific facts showing that there is a genuine
          28     issue for trial,” complaints’ allegations receive no weight. See Anderson v. Liberty
                 Lobby, Inc., 477 U.S. 242, 256 (1986).
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            1    alone would have constituted a breach of confidentiality and required the disclosure of
            2    Plaintiffs’ alleged trade secrets. Moreover, Apple hardly “concealed” its overall work
            3    in the healthcare technology field, and instead was very public with its intentions—
            4    including as reflected by widely reported meetings between O’Reilly and FDA experts
            5    on “mobile health,” Apple’s public launch and the resulting widespread coverage of its
            6    ResearchKit technology in March 2015, and in Apple patent applications published in
            7    March 2016 that listed Lamego as an inventor.
            8
            9
          10
          11           Moreover, because “‘silence or passive conduct [by] the defendant’” is not a
          12     defense to the statute of limitations in the absence of a fiduciary duty to the plaintiff,
          13     Apple’s failure to respond to the January 2014 letter could not as a matter of law toll the
          14     limitations period. See, e.g., Herremans v. BMW of N. Am., LLC, 2014 WL 5017843, at
          15     *5 (C.D. Cal. Oct. 23, 2014) (quoting Rutledge v. Boston Woven Hose, 576 F.2d 248,
          16     250 (9th Cir. 1978)). And even if Apple had responded, a letter from a purported
          17     misappropriator to the trade secret owner discussing the disputed technology does not
          18     toll the statute of limitations where the “letter contains no assurance that [the
          19     misappropriator] intends to respect” the owner’s trade secret rights. See Memory Corp.
          20     v. Kentucky Oil Tech., N.V., 2007 WL 2746736, at *9 n.5 (N.D. Cal. Sept. 20, 2007);
          21     see also Wolf, 167 F. Supp. 3d at 1096 (rejecting allegations of “purported inability to
          22     discover [copyright] infringement” where plaintiff’s investigation involved asking the
          23     defendant, his associate, and an employee of the organization with which they were
          24     working whether they had infringed, which they denied).
          25           Plaintiffs also claim that they could not have known of Apple’s alleged
          26     misappropriation before January 10, 2017 because “the first [Apple Watch] product at
          27     issue was not announced until 2018.” Fourth Am. Compl. ¶ 262. But the clock started
          28     on any potential trade secret misappropriation claim against Apple when Plaintiffs

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            1    actually suspected (or should have suspected) that misappropriation of their purported
            2    secrets had occurred—which, as detailed above, happened no later than October 2016.
            3    See supra pp. 4-6. Plaintiffs cannot avoid the consequences of their decision to wait
            4    more than three years after that date simply by purporting to ground their claims in a
            5    product announced within the limitations period.
            6          Simply put, Plaintiffs have presented no legitimate basis to invoke the delayed
            7    discovery rule here.      Thus, because Plaintiffs failed to bring their trade secret
            8    misappropriation claim within the requisite three-year statute of limitations period,
            9    Apple should be granted summary judgment on that claim as a matter of law.
          10
                 B.    Alternatively, The Court Should Bifurcate Trial On Apple’s Statute Of
          11           Limitations Defense.
          12
                       At a minimum, this Court should bifurcate trial on Apple’s statute of limitations
          13
                 defense pursuant to Federal Rule of Civil Procedure 42(b). That rule confers broad
          14
                 discretion on a court to bifurcate a trial on separate issues “[f]or convenience, to avoid
          15
                 prejudice, or to expedite and economize [the proceedings].” Fed. R. Civ. P. 42(b). A
          16
                 dispute over whether “the statute of limitations [has run] is a prime candidate for a
          17
                 limited trial under Rule 42(b),” both because “the issues may overlap very little with the
          18
                 merits of the case and because the potential savings are greatest when a case is put to
          19
                 death at an early stage.” Grisham, 2009 WL 9102320, at *4. The Ninth Circuit has
          20
                 affirmed the decision to bifurcate a trial into a statute of limitations phase and a liability
          21
                 phase precisely because (as here) “the statute of limitations issue was dispositive.” See
          22
                 Gomez v. City of Torrance, 438 F. App’x 626, 628 (9th Cir. 2011); see also 9A Wright
          23
                 & Miller Federal Practice & Procedure § 2388 (3d ed.) (bifurcation is “desirable” “[i]f
          24
                 a single issue could be dispositive of the case … and resolution of it might make it
          25
                 unnecessary to try the other issues in the litigation”).
          26
                       While “bifurcation requires . . . only one of the … conditions” listed in the rule—
          27
                 judicial economy, convenience, and prejudice—all three are present here, as detailed
          28

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            1    below. Jem Access. v. JVCKENWOOD USA Corp., 2021 WL 706646, at *4 n. 2
            2    (S.D.N.Y. Feb. 22, 2021).
            3
                       1.     Bifurcating Trial On Apple’s Statute Of Limitations Defense Will
            4                 Promote Judicial Economy And Convenience.
            5          “[J]udicial economy” is served for purposes of Rule 42(b) when “resolution of a
            6    single claim or issue could be dispositive of the entire case,” Mullally v. Jones, 2007 WL
            7    1213704, at *3 (D. Nev. Apr. 24, 2007), or where the evidence presented in the proposed
            8    phases of the litigation will be different, Hangarter v. Provident Life & Acc. Ins. Co.,
            9    373 F.3d 998, 1021 (9th Cir. 2004). Convenience also is served under Rule 42(b) when
          10     bifurcation would “permit deferral of costly and possibly unnecessary discovery
          11     proceedings pending resolution of potentially dispositive preliminary issues.” Ellingson
          12     Timber Co. v. Great Northern Ry., 424 F.2d 497, 499 (9th Cir. 1970).
          13           Here, resolution of the statute of limitations issue will likely dispose of Plaintiffs’
          14     trade secret misappropriation claim. If that claim is time-barred, then, at minimum, the
          15     parties will not need to litigate a host of complex issues for the dozens of purported trade
          16     secrets, including whether Plaintiff has met its burden to establish whether each of those
          17     trade secrets (1) was not generally known, (2) actually derive economic value from its
          18     secrecy, (3) was subject to reasonable measures to preserve its secrecy, (4) was
          19     improperly acquired, disclosed, or used by Apple, and (5) merits damages under the facts
          20     of this case. The significant complexity of resolving these issues across numerous
          21     alleged trade secrets (along with the likely need to resolve accompanying discovery
          22     motions and disputes over expert and evidentiary issues) is far greater than resolving the
          23     far simpler, threshold issue of whether the claim is time-barred. As discussed above, the
          24     statute of limitations case turns largely on just a handful of documents, such as the
          25
          26                   media reports, and Apple’s ’726 publication. See supra pp. 2-6.
          27           Bifurcating trial thus has the potential to avoid enormous amounts of court, jury,
          28     and witness time, and millions of dollars in attorneys’ fees and costs that the parties can

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            1    expect to incur in litigating the merits of the trade secret misappropriation claim in its
            2    entirety. See Heinrich v. Ethicon, Inc., 2021 WL 2801961, at *1 (D. Nev. Apr. 15, 2021)
            3    (bifurcating statute of limitations defense because the defense “could be dispositive” and
            4    thus “promote judicial economy”); Kleinhammer v. City of Paso Robles, 2008 WL
            5    11411408, at *5 (C.D. Cal. Oct. 10, 2008) (bifurcating statute of limitations defense
            6    because it would “best serve the convenience of the parties and the Court, and is the best
            7    way to secure the just, speedy and inexpensive determination of the suit”).
            8
                       2.     A Separate Statute Of Limitations Trial Will Avoid Unfairly
            9                 Prejudicing Apple.
          10           Bifurcation is also warranted “to avoid prejudice” to Apple of having to present
          11     its statute of limitations defense at the same time it defends the merits of Plaintiffs’ trade
          12     secret misappropriation claims. Fed. R. Civ. P. 42(b); see, e.g., Hirst v. Gertzen, 676
          13     F.2d 1252, 1261 (9th Cir. 1982) (affirming bifurcation where “there was danger of
          14     unnecessary jury confusion”); Foltz v. City of Largo, 2011 WL 1690010, at *2 (M.D.
          15     Fla. May 3, 2011) (potential prejudice to a party “alone is sufficient to warrant
          16     bifurcation”).
          17           Without bifurcation, Apple faces the prospect of having to present two, somewhat
          18     conflicting cases to the jury—arguing that Plaintiffs knew or should have known of
          19     Apple’s (purported) misappropriation, while at the same time contending that Plaintiffs’
          20     have not met their burden to show there was misappropriation to begin with. See
          21     Heinrich, 2021 WL 2801961 at *1 (describing a similar dilemma). “These seemingly
          22     conflicting positions could confuse the jury and prejudice” Apple.             Id.; see also
          23     McBroom v. Ethicon, 2021 WL 2661463, at *3 n.1 (D. Ariz. June 29, 2021) (citing cases
          24     granting motions to bifurcate where seemingly contradictory positions Defendants
          25     would need to take in a single trial “could confuse the jury and result in prejudice to
          26     Defendants,” and where “bifurcation will . . . avoid” that result) (citations omitted).
          27                                   V.     CONCLUSION
          28           For the reasons above, this Court should grant Apple summary judgment on its

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            1    statute of limitations defense to Plaintiffs’ trade secret misappropriation claim.
            2    Alternatively, if the Court decides not to grant summary judgment at this time, it should
            3    bifurcate the case and hold an initial trial to resolve Apple’s statute of limitations
            4    defense.
            5    Dated: December 7, 2021                Respectfully submitted,
            6                                           JOSHUA H. LERNER
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